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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-1613V
                                        (not to be published)


    REINE CARRE,
                                                                Chief Special Master Corcoran
                         Petitioner,
    v.                                                          Filed: February 24, 2023


    SECRETARY OF HEALTH AND                                     Special Processing Unit (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs; Hourly
                                                                Rates; Paralegal Tasks at Attorney
                         Respondent.                            Rates; Administrative time



Sean Franks Greenwood, The Greenwood Law Firm, Houston, TX, for Petitioner.

Mitchell Jones, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

       On November 18, 2020, Reine Carre filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration caused by an influenza vaccine administered on October 11, 2018. Petition
at 1. On October 17, 2022, a decision was issued awarding compensation to Petitioner
based on the parties’ stipulation. ECF No. 40.




1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Petitioner has now filed a motion for attorney’s fees and costs, dated December
16, 2022 (ECF No. 45), requesting a total award of $17,600.39 (representing $16,820.30
in fees and $780.09 in costs). In accordance with General Order No. 9, Petitioner filed a
signed statement indicating that she incurred no out-of-pocket expenses. ECF No. 48.
Respondent reacted to the motion on December 19, 2022, indicating that he is satisfied
that the statutory requirements for an award of attorney’s fees and costs are met in this
case, but deferring resolution of the amount to be awarded to my discretion. ECF No. 46.
Petitioner did not file a reply thereafter.

       I have reviewed the billing records submitted with Petitioner’s requests and find a
reduction in the amount of fees to be awarded appropriate, for the reasons listed below.

                                       ANALYSIS

        The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Counsel must submit fee requests that include contemporaneous and specific
billing records indicating the service performed, the number of hours expended on the
service, and the name of the person performing the service. See Savin v. Sec’y of Health
& Human Servs., 85 Fed. Cl. 313, 316-18 (2008). Counsel should not include in their fee
requests hours that are “excessive, redundant, or otherwise unnecessary.” Saxton v.
Sec’y of Health & Human Servs., 3 F.3d 1517, 1521 (Fed. Cir. 1993) (quoting Hensley v.
Eckerhart, 461 U.S. 424, 434 (1983)). It is “well within the special master’s discretion to
reduce the hours to a number that, in [her] experience and judgment, [is] reasonable for
the work done.” Id. at 1522. Furthermore, the special master may reduce a fee request
sua sponte, apart from objections raised by respondent and without providing a petitioner
notice and opportunity to respond. See Sabella v. Sec’y of Health & Human Servs., 86
Fed. Cl. 201, 209 (2009). A special master need not engage in a line-by-line analysis of
petitioner’s fee application when reducing fees. Broekelschen v. Sec’y of Health & Human
Servs., 102 Fed. Cl. 719, 729 (2011).

       The petitioner “bears the burden of establishing the hours expended, the rates
charged, and the expenses incurred.” Wasson v. Sec’y of Health & Human Servs., 24 Cl.
Ct. 482, 484 (1991). The Petitioner “should present adequate proof [of the attorney’s fees
and costs sought] at the time of the submission.” Wasson, 24 Cl. Ct. at 484 n.1.
Petitioner’s counsel “should make a good faith effort to exclude from a fee request hours
that are excessive, redundant, or otherwise unnecessary, just as a lawyer in private
practice ethically is obligated to exclude such hours from his fee submission.” Hensley,
461 U.S. at 434.

                                            2
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                                           ATTORNEY FEES

                  A. Hourly Rates

     Petitioner requests the following rates of compensation for the work of her attorney
Sean Greenwood and his associates:

                                          2019           2020          2021            2022

            Sean Greenwood                   X            X            $425            $498

            Kayleigh Smith                $225           $250            X               X

            Janell Ochoa                     X            X            $180            $229

            Anna Carruth                     X            X            $180              X


The rates requested for 2019-21 are consistent with what has been awarded these
attorneys for work in the Vaccine Program in prior cases, and I shall therefore apply them
herein.

       However, although the proposed rates for Mr. Greenwood and Ms. Ochoa’s work
in 2022 falls within the experience range provided in OSM’s rate chart for similarly situated
attorneys, I find the specifically-requested increases to be excessive. 3 Rather, based on
my experience applying the factors relevant to determining proper hourly rates for
Program attorneys, 4 a rate of $470 per hour is more appropriate for Mr. Greenwood, and
$200 per hour to be more appropriate for Ms. Ochoa’s time. Application of these rates
reduces the amount to be awarded herein by $963.80. 5




3
    The Attorneys’ Fee Schedule for 2022 is available at http://www.uscfc.uscourts.gov/node/2914.

4 See McCulloch v. Health and Human Services, No. 09–293V, 2015 WL 5634323 at *17 (Fed. Cl. Spec.

Mstr. Sept. 1, 2015).

5This amount consists of: ($498 - $470 = $28 x 4.8 hrs = $134.40) + ($229 - $200 = $29 x 28.60 hrs =
$829.40) = $963.80.

                                                     3
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                      B. Paralegal Tasks at Attorney Rates

       Associate attorney Kayleigh Smith’s rate will need to be reduced for time billed on
tasks that are considered paralegal. Attorneys may be compensated for paralegal-level
work, but at a rate that is comparable to what would be paid for a paralegal. See, e.g.
Doe/11 v. Sec’y of Health & Human Servs., No. XX-XXXV, 2010 WL 529425, at *9-10
(Fed. Cl. Spec. Mstr. Jan. 29, 2010) (citing Missouri v. Jenkins, 491 U.S. 274, 288 (1989));
Mostovoy v. Sec’y of Health & Human Servs., No. 02-10V, 2016 WL 720969, at *5 (Fed.
Cl. Spec. Mstr. Feb. 4, 2016); Riggins. v. Sec’y of Health & Human Servs., No. 99-382V,
2009 WL 3319818, at *20-21 (Fed. Cl. Spec. Mstr. June 15, 2009); Turpin v. Sec’y of
Health & Human Servs., No. 99-535, 2008 WL 5747914, at *5-7 (Fed. Cl. Spec. Mstr.
Dec. 23, 2008).

       Ms. Smith billed 1.1 hours of time on tasks considered paralegal, specifically on
time related to obtaining medical records. ECF No. 45-1 at 3. I will reduce Ms. Smith’s
rate for these tasks to $150 per hour, which is comparable to what a paralegal would
receive. This reduces the request for attorney fees in the amount of $82.50. 6

                  C. Administrative Time

         Upon review of the billing records submitted, it appears that a number of entries
are for tasks considered clerical or administrative. In the Vaccine Program, secretarial
work “should be considered as normal overhead office costs included within the attorney’s
fee rates.” Rochester v. U.S., 18 Cl. Ct. 379, 387 (1989); Dingle v. Sec’y of Health &
Human Servs., No. 08-579V, 2014 WL 630473, at *4 (Fed. Cl. Spec. Mstr. Jan. 24, 2014).
“[B]illing for clerical and other secretarial work is not permitted in the Vaccine Program.”
Mostovoy, 2016 WL 720969, at *5 (citing Rochester, 18 Cl. Ct. at 387).

       A total of 1.2 hours was billed by paralegals on tasks considered administrative
specifically tasks related to paying invoices. ECF No. 45-1 at 4-5. Because the Program
does not reimburse such tasks, I will reduce the amount of fees to be awarded by
$186.00. 7




6
    This amount consists of: ($225 - $150 = $75 x 1.1 hrs = $82.50).

7   This amount consists of: ($150 x 0.60 hrs = $90) + ($160 x 0.60 hrs = $96) = $186.00.
                                                      4
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                                      ATTORNEY COSTS

       Petitioner requests $780.09 in overall costs. ECF No. 45-1 at 10. This amount is
comprised of obtaining medical records and the Court’s filing fee. I have reviewed all of
the requested costs and find them to be reasonable and shall therefore award them in
full.


                                         CONCLUSION

       The Vaccine Act permits an award of reasonable attorney’s fees and costs for
successful claimants. Section 15(e). Accordingly, I hereby GRANT IN PART Petitioner’s
Motion for attorney’s fees and costs. I award a total of $16,368.09 (representing
$15,588.00 in fees and $780.09 in costs) as a lump sum in the form of a check jointly
payable to Petitioner and Petitioner’s counsel. In the absence of a timely-filed motion for
review (see Appendix B to the Rules of the Court), the Clerk of Court shall enter judgment
in accordance with this Decision. 8

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




8 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                 5
